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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORID A
                             CASE NO. 04-21065-CIV-COOKE/MCALILEY

  SAWSAN BABAN, as a Personal Representative
  of the Estate of DR . HUSSAM SAADALDIN ,

                Plaintiff,

  vs.


                                                                            FILED by-., d /1' D .C .
 INTERCONTINENTAL HOTELS GROUP PLC,                                         MGC
 a United Kingdom comp any d/b/a Holiday Inn;
 INTERCONTINENTAL HOTELS CORPORATION,                                           JUN 17 2005
 a Delaware corporation ; INTERCONTINENTAL                                     CLARENCE MADDOX
                                                                               CLERK U . S . DIST . CT .
 HOTELS GROUP RESOURCES, INC., a Delaware                                      S .D . OF FLA . - MIAM I

 Corporation ; HOLIDAY INNS (MIDDLE EAST)
 LIMITED; a foreign comp any d/b/a/ Holiday Inn -
 Najran; NOKIA CORPORATION, a foreign corporation ;
 NOKIA, INC ., a Delaware corporation ; and NOKIA
 AL-SAUDIA LIMITED, a foreign comp any,

                Defendants .
                                           /

        ORDER GRANTING DEFENDANTS INTERCONTINENTAL HOTELS
   CORPORATION AND INTERCONTINENTAL HOTELS GROUP RESOURCES . INC.
                  MOTION FOR SUMMARY JUDGMEN T

         THIS CAUSE came before the Court on Defendants Intercontinental Hotels Corporation

 ("IHC") and Intercontinental Hotels Group Resources ("IHGR") Motion for Summary Judgment

  [DE 98], filed April 8, 2005 . For the reasons more fully stated below, Defendants' Motion for

 Summary Judgment is GRANTED .

        I. Introduction

         Plaintiff, Sawsan Baban ("Plaintiff' or "Baban"), as Personal Representative of the Estate

 of Dr . Hussam Saadaldin ("Saadaldin"), filed suit against Intercontinental Hotels Group PLC

 ("IHG"), Intercontinental Hotels Corporation ("IHC"), Intercontinental Hotels Group Resources,
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  Inc. ("IHGR"), Holiday Inns (Middle East) Limited ("HI"), Nokia Corporation ("Nokia"), Nokia,

  Inc ., and Nokia Al-Saudia Limited, for damages surrounding the death of her husband,

  Saadaldin, in a camel riding accident in Saudia Arabia . Plaintiff alleges that IHG, IHGR, IHC,

  HI, Nokia, Nokia, Inc ., and Nokia Saudi's negligence, caused the death of Saadaldin . See

  Complaint, pp 10-37 . On March 31, 2005, this Court entered an Order granting Nokia

  Corporation's Motion to Dismiss for Lack of Personal Jurisdiction [DE 94] and granted

 Intercontinental Hotels Group PLC's Motion to Quash Service of Process [DE 95].

         II.    Factual Background

         In May, 2001, Plaintiffs husband accepted an offer for temporary employment by Saudi

 Inteltee, a telecommunications company engaged in a large telecommunications project in Saudi

 Arabia. See Complaint at ¶ 7 . According to Plaintiff, Saudi Inteltee entered into a contract with

 Nokia (and/or Nokia, Inc ., and/or their agent, affiliates or subsidiaries) to establish or modernize

 communications systems in Saudia Arabia (hereinafter "Nokia Project" or the "Project") . Id. at ¶

 8.

         On May 5, 2002, after the completion of a significant phase of the Nokia Project, Nokia

 and/or its agents, are said to have sponsored a two day trip to the Holiday Inn-Najran, in the

 United Kingdom of Saudi Arabia. Id. at ¶ 10 . Saadaldin and others (who were involved in the

 Nokia Project) traveled into the desert to a tent allegedly set up by the hotel, where they were

 scheduled to have dinner and embark on a group camel ride, claimed to have been arranged by

 the Holiday Inn-Najran . Id at ¶ 11 .

         Plaintiff avers that as Saadaldin and others were riding their camels, "one or more of the

 camels suddenly bolted causing the other camels, including the camel ridden by Saadaldin, to ru n


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 away and become uncontrollable ." See id at ¶12. Saadaldin, who had never ridden a camel

 before, fell and sustained injuries . On May 21, 2002, Saadaldin died as a result of the injuries he

  sustained.

         III. Legal Standards

         Summary judgment is appropriate if the pleadings, depositions, and affidavits show that

 there is no genuine issue of material fact, and that the moving party is entitled to judgment as a

 matter of law. Fed . R. Civ . P . 56(c) ; Celotex Corp. v. Catrett, 477 U .S. 317, 322 (1986) . An

 issue is "material" if it is a legal element of the claim under applicable substantive law which

 might affect the outcome of the case . Anderson v . Liberty Lobby, 477 U .S . 242, 248 (1986) ;

 Allen v. Tyson Foods, 121 F .3d 642, 646 (11`h Cir . 1997) . An issue is "genuine" if the record

 taken as a whole could lead a rational trier of fact to find for the non-moving party . Allen, 121

 F .3d at 646 . On a motion for summary judgment, the Court must view all the evidence and all

 factual inferences drawn therefrom in the light most favorable to the non-moving party, and

 determine whether that evidence could reasonably sustain a jury verdict . Celotex, 477 U .S . at

 322-23 ; Allen, at 646.

         While the burden on the movant is great, the opposing party has a duty to present

 affirmative evidence in order to defeat a properly supported motion for summary judgment .

 Anderson, 477 U.S . at 252 . To meet this burden, the non-moving party "may not rest upon the

 mere allegations or denials of the adverse party's pleadings ." See Fed . R. Civ . P . 56(e) . A mere

 "scintilla" of evidence in favor of the non-moving party, or evidence that is merely colorable or

 not significantly probative, is not enough . Id. ; see also Mayfield v. Patterson Pump Co., 101

 F.3d 1371, 1376 (11`h Cir . 1996)(conclusory allegations and conjecture cannot be the basis fo r


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  denying summary judgment) .

          IV. Discussion

          The sole basis for Plaintiff s suit against Defendant IHG and IHGR (the "IHG Hotel

  Defendants" or "Defendants"), is that the IHG Hotels Defendants allegedly "individually or

  collectively owned, leased, operated, maintained, and/or controlled the Holiday Inn - Najran in

  the Kingdom of Saudia Arabia ." See Complaint ¶ 23 . And,

                  [a]t all material times Holiday Inn (Middle East) Limited is the
                  actual or apparent agent of IHG, IHG Resources and/or ICH Corp .
                  in that it operates pursuant to and under the direction and right of
                  control of IHG, IHG Resources and/or ICH Corp ., and operates for
                  the benefit of IHG, IHG Resources, and/or ICH Corp .

 See id at ¶ 24 . As such, Plaintiff claims that the IHG Hotel Defendants were negligent in relatio n

  to the death of Dr . Saadaldin . Specifically, Plaintiff claims that :

                 [a]t all material times Defendant IHG knew or in the exercise of
                 reasonable care should have known that riding camels is an
                 inherently dangerous undertaking and that when offered as an
                 amenity to tourists staying at its hotel, that it can be especially
                 dangerous as such tourists or persons most likely to have no
                 appreciation of the dangers inherent in camel riding, having never
                 been exposed to or ridden a camel, are unfamiliar with how to
                 properly use the equipment so as to ensure the greatest likelihood
                 or level of control over the animal .


 See id at 1136, 46.

          Defendants argue that Plaintiff has wrongfully sued them . In particular, Defendants argue

 that they do not own, operate, manage, control, or had the right to control the Holiday Inn-Najran

 or its owner, Holiday Inns (Middle East) Limited . Among other things, Defendants assert that :

 (1) Holiday Inns (Middle East) is not their agent and they have never represented it to be an

 agent; (2) there are no interlocking directors or officers between Defendants and Holiday Inn s

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  (Middle East) Limited ; (3) Neither of the Defendants "has invested in, advertised or promoted

  the Holiday Inn-Najran on the internet or otherwise ;" (4) Defendants have not created or

  otherwise established the Holiday Inn-Najran or its amenities, including camel rides ; (5)

  Defendants have not recruited or trained the hotel management or personnel at the Holiday Inn-

  Najran ; and (6) Defendants have provided "no guidance, oversight or supervision to any aspect

  of the operation of the Holiday Inn-Najran ." See Affidavit of Edmund 0 . Archer' ("Archer

  Aff."), Defendant Exhibit 1 ("Def. Ex ."), 1-3 .

         Plaintiff grounds her claims against Defendants in agency law . As such, Plaintiff asserts

  that "it is the right of control, not actual control or actual interference with the work, which is

  significant in distinguishing between an independent contractor and a servant ." See National

  Surety Corp. v . Windham, 74 So . 2d 549, 550 (Fla . 1954) . Plaintiff, therefore, encourages the

  Court to ignore any apparent lack of active control over the Holiday Inns-Najran Defendants .

  Instead, Plaintiff suggests that the Court focus on whether or not Defendants had the right to

  control the Holiday Inns-Najran . Notwithstanding this argument, Plaintiff has provided no

  evidence to controvert Defendants' claim that the Holiday Inns-Najran is not their agent .

         Plaintiff responds to Defendants' Motion for Summary Judgement by asserting that the

  Motion is premature, because there has been insufficient discovery in this matter . It is Plaintiffs

 contention that "none of the parties have engaged in merits discovery and instead have limited

 themselves to jurisdictional discovery only. " See Plaintiffs Response to Defendant's Motion for

  Summary judgment ("Response"), 5 . Moreover, Plaintiff asserts that "Rule 26(f), Fed . R. Civ . P.




            'Mr. Archer is the "Vice President & Associate General Counsel of Six Continents Hotels,
  Inc ., the parent of Defendant, InterContinental Hotels Group Resources, Inc ., and an affiliate

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  provides that the parties must confer in a scheduling conference to develop a discovery plan and

  to thereafter file a scheduling report so that a Rule 16(d) scheduling order may be entered by the

  Court . To date, no scheduling conference has occurred, nor was one required to have occurred ."

  See id. This Court finds Plaintiffs arguments unavailing .

          On August 17, 2004, Plaintiff filed a Motion for Extension of Time Within Which to

  Conduct Scheduling Meeting and To File Joint Scheduling Report ("Motion") [DE 43] . In that

  Motion, Plaintiff stated that :

                  Once all parties have been served, made an appearance and it is
                  determined which parties are to remain in this action, Plaintiff
                  submits and proposes to conduct the Rule 16 .1 .B. Scheduling
                  Conference within 20 days of this Court's ruling on th e
                  jurisdictional motions and to file the Joint Scheduling Report
                  within 14 days thereafter .

  See Plaintiffs Motion at ¶ 8 . The Court granted Plaintiffs Motion, giving the parties the

  opportunity to file a Joint Scheduling Report until such time as all Defendants have been served

  and all Rule 12(b) motions ruled upon . Notwithstanding this allowance by the Court, this matter

  commenced a year ago, on May 5, 2004, with the filing of Plaintiffs Complaint . Today, Plaintiff

  claims to be without the most basic of information to support its allegations against Defendants .

  Plaintiff must have some basis for maintaining a suit against Defendants .

          Plaintiffs Response does not signal any issue of material fact in dispute and provides no

  evidence of an agency relationship between Defendants and Holiday Inns - Najran . Instead,

  Plaintiff proffers that Archer's Affidavit contains mere statements of legal conclusion, and that

  agency and control are the crux of Plaintiffs case . Furthermore, Plaintiff argues that whether an

  actual or apparent agency is created, and "whether there exists the 'right of control,' are issues t o



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  be determined in light of all the facts and circumstances of the parties' relationships and

  dealings ." See Response at 9 . Once again, despite this argument, Plaintiff has failed to provide

  the documentary evidence necessary to support its claim that Defendants possess the right of

  control over the Holiday Inns - Najran. Instead, Plaintiff belabors the point that there has been

  insufficient discovery for her to provide the requisite factual support for her arguments .

            Plaintiff alleges that :

                    [a]t present it is known upon information and belief that the
                    Holiday Inn - Najran is one of 3,300 properties situated throughout
                    the world which form part of the Intercontinental Hotels Group
                    system. It is known that in 2003 this particular hotel won the
                    Intercontinental hotels group 'Torchbearer Award' - an award given
                    to the hotel achieving the highest level of excellence in all aspects
                    of operation from quality to customer satisfaction and that the
                    owner of the hotel accepted such award at ceremony in Atlanta,
                    Georgia during the annual Intercontinental Hotels Group Global
                    Investors & leadership Conference .


  See id.    These allegations , however, are insufficient to meet Plaintiffs burden . In order to defeat

  a motion for summary judgment, Plaintiff is required to show with some specificity that evidence

  exists to support his or her claim . See Celotex Corporation v . Catrett, 477 U . S . at 324.2 The

  moving party, on the other hand, need only meet his "burden on summary judgment by 'showing'

  or'pointing out' to the Court that there is an absence of evidence to support the non-moving

  party' s case." See Jeffrey v. Sarasota White Sox, Inc., 64 F.3d 590 , 593-94 ( 11th Cir . 1995)

  (citing Celotex , 477 U . S. at 325) . Defend ants have met this burden by 'pointing out' that the y




         2 According to the Celotex Court, " Rule 56 ( e) .. . requires the nonmoving party to go beyond
 the pleadings and . . .her own affidavits, or by the " depositions, answers to interrogatories, and
 admissions on file,' designate 'specific facts showing that here is a genuine issue for trial ."See
 Cleotex Corp. v. Catret4 477 U .S . at 324 .

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  have no agency relationship with the Holiday Inns - Najran, which, as mentioned above, is the

  basis of Plaintiffs claims against Defendants . See Plaintiffs Exhibit E .

          Plaintiff attempts to meet its evidentiary burden by filing a statement from a web page

  titled www .ameinfo .com, which states that the Holiday Inn Najran won the Intercontinental

  Hotels Group Torchbearer Award . Curiously, Plaintiff does not explain the significance of this

  award or indicate in anyway how this Award impacts her case .

         Pursuant to Fed . R. Civ . P . 56 (b), "[a] party against whom a claim, counterclaim, or

  cross-claim is asserted or a declaratory judgment is sought may, at any time, move with or

  without supporting affidavits for a summary judgment in the party's favor as to all or any part

  thereof." Defendant filed such a Motion for Summary Judgement almost one year after the

  Complaint was filed .' Viewing the facts presented in the light most favorable to the non-moving

 party does not relieve Plaintiff from its obligation to present sufficient evidence to support her

  cause . It bears repeating that the non-moving party "may not rest upon the mere allegations or

  denials of the adverse party's pleadings ." See Fed . R. Civ . P . 56(e) . And, a mere "scintilla" of

 evidence in favor of the non-moving party, or evidence that is merely colorable or not

  significantly probative, is not enough . Id.

         This Court finds that Defendants have adequately shown that Plaintiff has provided no

 basis for her claims against them . Consequently, it is

         ORDERED AND ADJUDGED that :

          1 . Defendants' Motion for Summary Judgment is GRANTED .


      'Plaintiffs Complaint was filed on May 5, 2004 and Defendants filed their Motion for
 Summary Judgment on April 8, 2005 .


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        2. Defendants Intercontinental Hotels Group and Intercontinental Hotels Corporation

  are hereby DISMISSED from this action .

        DONE AND ORDERED in Chambers, in Miami, Miami-Dade County, Florida thi s

   17*day of June, 2005 .

                                              THE HONORABLE MARCIA G . COOKE
                                              UNITED STATES DISTRICT JUDG E

 cc :

        The Honorable Magistrate Judge Stephen T . Brown

        All Counsel of Record




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